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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                                           CASE NO.: 19-17212-BKC-EPK
                                                                        PROCEEDING UNDER CHAPTER 13

IN RE:

MARILYN BONACHEA
XXX-XX-8470

_____________________________/
DEBTOR

                                       CERTIFICATE OF SERVICE


         ORDER GRANTING DEBTOR'S MOTION TO MODIFY THE CHAPTER 13 PLAN- DE#62


         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of the Pleading noted above was
served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 28th day of January, 2021.

                                                                  /s/ Robin R. Weiner
                                                                  _____________________________________
                                                                  ROBIN R. WEINER, ESQUIRE
                                                                  STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 559007
                                                                  FORT LAUDERDALE, FL 33355-9007
                                                                  TELEPHONE: 954-382-2001
                                                                  FLORIDA BAR NO.: 861154
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                                                                          CERTIFICATE OF SERVICE
                                                                        CASE NO.: 19-17212-BKC-EPK

                                      SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
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VERO BEACH, FL 32962

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